Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 1 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 2 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 3 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 4 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 5 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 6 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 7 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 8 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 9 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 10 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 11 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 12 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 13 of 14
Case 2:18-cv-04654-JDW Document 1 Filed 10/29/18 Page 14 of 14
